                        Exhibit
Case 9:19-mc-80024-DMM Document 25-2 Entered on FLSD Docket 07/15/2019 Page 1 of 2
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  Case
Image#    9:19-mc-80024-DMM
       201807159115673127                                Document 25-2 Entered on FLSD Docket 07/15/2019 Page 2 of 2
SCHEDULE A (FEC Form 3X)                                                                                                      FOR LINE NUMBER:                     PAGE 15 OF                100
                                                                                    Use separate schedule(s)                  (check only one)
ITEMIZED RECEIPTS                                                                   for each category of the
                                                                                                                               ✘ 11a              11b          11c              12
                                                                                    Detailed Summary Page
                                                                                                                                 13               14           15               16           17
Any information copied from such Reports and Statements may not be sold or used by any person for the purpose of soliciting contributions
or for commercial purposes, other than using the name and address of any political committee to solicit contributions from such committee.
   NAME OF COMMITTEE (In Full)
   AMERICA FIRST ACTION, INC.
   Full Name of Individual (Last, First, Middle Initial) or Full Organization Name
A. GLOBAL ENERGY PRODUCERS, LLC                                                                                                 Date of Receipt
   Mailing Address 7670 LA CORNICH CIRCLE                                                                                        M        M   /       D    D   /       Y    Y    Y       Y
                                                                                                                                     05                   17                2018
   City                                                             State             Zip Code                                   Transaction ID : SA11AI.21241
   BOCA RATON                                                       FL                  33433                                   Amount of Each Receipt this Period
   FEC ID number of contributing
   federal political committee.                                    C                                                                              ,
                                                                                                                                                  ▲                ,
                                                                                                                                                                   ▲
                                                                                                                                                                           325000.00
                                                                                                                                                                                     .
                                                                                                                                                                                     ▲
   Name of Employer (for Individual)                                      Occupation (for Individual)                                 Memo Item


   Receipt For:                                                   Aggregate Year-to-Date ▼
        Primary           General
        Other (specify) ▼                                                       ,
                                                                                ▲              ,
                                                                                               ▲              .
                                                                                                      325000.00
                                                                                                              ▲

   Full Name of Individual (Last, First, Middle Initial) or Full Organization Name
B. GREENSTEIN, IRA, A, ,                                                                                                        Date of Receipt
   Mailing Address 103 COUNTRY RIDGE ROAD                                                                                        M        M   /       D    D   /       Y    Y    Y       Y
                                                                                                                                     06                   22               2018
   City                                                             State             Zip Code                                   Transaction ID : SA11AI.23666
    SCARSDALE                                                        NY                10583                                    Amount of Each Receipt this Period
   FEC ID number of contributing
   federal political committee.                                    C                                                                              ,
                                                                                                                                                  ▲                ,
                                                                                                                                                                   ▲       100000.00
                                                                                                                                                                                     .
                                                                                                                                                                                     ▲
   Name of Employer (for Individual)                                      Occupation (for Individual)                                 Memo Item
   ENERPULSE TECHNOLOGIES, INC.                                           DIRECTOR
   Receipt For:                                                   Aggregate Year-to-Date ▼
        Primary           General
        Other (specify) ▼                                                       ,
                                                                                ▲              ,
                                                                                               ▲              .
                                                                                                      100000.00
                                                                                                              ▲

   Full Name of Individual (Last, First, Middle Initial) or Full Organization Name
C. GUCCIARDO, CHARLES, S, ,                                                                                                     Date of Receipt
   Mailing Address 170 OLD COUNTRY RD                                                                                            M        M   /       D    D   /       Y    Y    Y       Y
                                                                                                                                     06                   22               2018
   City                                                             State             Zip Code                                   Transaction ID : SA11AI.23662
   MINEOLA                                                           NY                11501                                    Amount of Each Receipt this Period
   FEC ID number of contributing
   federal political committee.                                    C                                                                              ,                ,        50000.00
                                                                                                                                                                                     .
   Name of Employer (for Individual)                                      Occupation (for Individual)                                  Memo Item
   GUCCI LAW                                                              ATTORNEY
   Receipt For:                                                   Aggregate Year-to-Date ▼
        Primary          General
        Other (specify)                                                         ,
                                                                                ▲              ,
                                                                                               ▲              .
                                                                                                        50000.00
                                                                                                              ▲


 SUBTOTAL of Receipts This Page (optional) ............................................................................                           ,                ,       475000.00
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 TOTAL This Period (last page this line number only) ...............................................................                              ,
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